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                         UNITED STATES BANKRUPTCY COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

IN RE:                                                  CASE NO:

WILLIAM N. ADKINS,                                      12-31050

DEBTOR.
                                                        CHAPTER 7


                 NOTICE OF WITHDRAWAL OF PROOF OF CLAIM 12-1

         NOW COMES Branch Banking and Trust Company (“BB&T”), by and through

undersigned counsel, and hereby submits this Notice of Withdrawal of Proof of Claim as to the

following proof of claim filed in the above-captioned bankruptcy case:

         Claimant                                      Claim No.

         Branch Banking and Trust Company              12-1



         This, the 11th day of February, 2016.



                                                 s/Nicholas C. Brown
                                                 Nicholas C. Brown
                                                 State Bar No. 38054
                                                 Howard, Stallings, From, Hutson, Atkins,
                                                 Angell & Davis, P.A.
                                                 P.O. Box 12347
                                                 Raleigh, NC 27605
                                                 Telephone: (919) 821-7700
                                                 Facsimile: (919) 821-7703
                                                 Attorneys for Branch Banking and Trust Company
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                                CERTIFICATE OF SERVICE

         The undersigned hereby certifies under penalty of perjury that she is over eighteen (18)
years of age and the NOTICE OF WITHDRAWAL OF PROOF OF CLAIM 12-1 was this
day served upon the below named persons, parties and/or counsel by mailing, postage prepaid,
first class mail, a copy of such instruments to such persons, parties and/or counsel at the address
shown below or as indicated below:

William N Adkins                                   Anna S. Gorman
16315 Belle Isle Drive                             Joseph W. Grier, III
Cornelius, NC 28031                                Grier, Furr, & Crisp PA
                                                   101 North Tryon St.
                                                   Suite 1240
                                                   Charlotte, NC 28246
R. Keith Johnson                                   U.S. Bankruptcy Administrator Office
1275 South Hwy 16                                  402 W. Trade Street
Stanley, NC 28164                                  Suite 200
                                                   Charlotte, NC 28202-1669


 DATED: February 11, 2016
                                                   s/Jennifer L. McInnes
                                                   Jennifer L. McInnes, Paralegal
                                                   Howard, Stallings, From, Hutson, Atkins,
                                                   Angell & Davis, P.A.
                                                   P.O. Box 12347
                                                   Raleigh, NC 27605
                                                   Telephone: (919) 821-7700
                                                   Facsimile: (919) 821-7703
